






NOS.  07-06-0457-CR


					         07-06-0458-CR

					         07-06-0459-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



AUGUST 8, 2007


	______________________________



DUSTIN LEE ALLEN, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 320TH DISTRICT COURT OF POTTER COUNTY;



NO. 49,984-D, 49,985-D, 53,537-D; HONORABLE DON EMERSON, JUDGE


_______________________________



Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ON MOTION TO DISMISS


	Pending before this Court is appellant's motion to dismiss his appeals.  Appellant and his
attorney both have signed the document stating that appellant withdraws his appeals.  Tex. R.
App. P. 42.2(a).  No decision of this Court having been delivered to date, we grant the motion. 
Accordingly, the appeals are dismissed.  No motion for rehearing will be entertained and our
mandates will issue forthwith.

							Mackey K. Hancock

							        Justice

Do not publish.


